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                                                                     USDC SDNY
UNITED STATES DISTRICT COURT                                         DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                        ELECTRONICALLY FILED
MARK KUSHNEIR,                                                       DOC #: _________________
                                                                     DATE FILED: __4/17/2020__
                               Plaintiff,

               -against-                                                   14 Civ. 9148 (AT)

THE CITY OF NEW YORK, CHIEF OF                                                  ORDER
DEPARTMENT JOSEPH ESPOSITO, and OFFICER
MICHAEL MALDONADO,

                        Defendants.
ANALISA TORRES, District Judge:

         The ongoing COVID-19 pandemic has necessitated substantial changes in the Court’s
trial schedule in order to ensure that jury trials can be conducted safely and practically.
Accordingly, the trial scheduled to commence on May 18, 2020, is ADJOURNED to December
7, 2020.

       It is further ORDERED that the deadlines set forth at ECF No. 148 are amended as
follows:

        In accordance with Paragraph V.B of the Court’s Individual Practices in Civil Cases, the
parties shall submit a proposed joint pre-trial order to the Court by PDF attachment to an e-mail
by October 23, 2020.

        In accordance with Paragraphs V.C and V.D of the Court’s Individual Practices, each
party shall file and serve along with the joint pre-trial order all required pre-trial filings,
including motions addressing any evidentiary issues or other matters that should be resolved in
limine, joint requests to charge, joint proposed verdict forms, and joint proposed voir dire
questions

        In accordance with Paragraph V.C(v) of the Court’s Individual Practices, the parties shall
deliver to the Court by October 23, 2020, one copy of each documentary exhibit sought to be
admitted, pre-marked (i.e., labeled with exhibit stickers) and assembled sequentially in a
looseleaf binder or in separate manila folders labeled with the exhibit numbers and placed in a
suitable container for ready reference. The parties are directed to contact chambers at
Torres_NYSDChambers@nysd.uscourts.gov in advance of arranging delivery to confirm that
public health conditions will permit chambers to accept such a delivery.

        In accordance with Paragraph V.F of the Court’s Individual Practices, by October 30,
2020, the parties shall file, if necessary, any objections to another party’s requests to charge or
proposed voir dire questions, any opposition to any motion in limine, and any opposition to any
legal argument in a pre-trial memorandum.
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        Counsel for all parties shall appear for a final pre-trial conference on December 1, 2020,
at 1:00 p.m., in Courtroom 15D of the United States Courthouse, 500 Pearl Street, New York,
NY 10007.

        Trial shall commence at 9:00 a.m. on December 7, 2020. In accordance with Paragraph
V.H of the Court’s Individual Practices, trial will be conducted from 9:00 a.m. to 2:15 p.m. with
a break from 11:15 to 11:45 a.m. During the jury selection and jury deliberation phases, court
will be in session from 9:00 a.m. to 5:00 p.m. with a break from 1:00 to 2:00 p.m.

       Prior to the final pre-trial conference, counsel for both parties, along with the parties
themselves, shall meet in person for at least one hour to discuss settlement of this matter.

       The Clerk of Court is directed to terminate the motion at ECF No. 149.

       SO ORDERED.

Dated: April 17, 2020
       New York, New York




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